                                              IN THE
                                   UNITED STATES DISTRICT COURT
                                             FOR THE
                                   WESTERN DISTRICT OF VIRGINIA
                                        DANVILLE DIVISION

  UNITED STATES OF AMERICA                            )
                                                      )
          v.                                          )       Criminal No. 4:18-cr-00011
                                                      )
  MARCUS JAY DAVIS                                    )
      Et al.                                          )

                                            NOTICE OF APPEAL

          Pursuant to Rule 4(b) of the Federal Rules of Appellate Procedure, the United States of

  America hereby gives notice that it is appealing the Order (ECF No. 555) and Memorandum

  Opinion (ECF No. 554) entered by United States District Court on July 23, 2019 to the United

  States Court of Appeals for the Fourth Circuit.1

                                                          Respectfully submitted,


  1
           The Department of Justice Criminal Division is awaiting a final decision from the Office of the
  Solicitor General (“OSG”) on whether it will proceed with an appeal. If the OSG elects not to pursue the
  appeal, the United States will withdraw this Notice.

            Moreover, despite any decision from OSG, the filing of this Notice does not divest the Court of
  jurisdiction over the entire case, only the dismissed counts being appealed to the Fourth Circuit. The United
  States believes the Court still has jurisdiction to proceed to trial on the remaining counts from the First
  Superseding Indictment, and the United States is preparing for that trial. Generally, the filing of a notice
  of appeal, including an interlocutory appeal under 18 United States Code, Section 3731, “transfers
  jurisdiction from the district court to the court of appeals, so that the two courts will not be stepping on each
  other’s toes.” United States v. Ienco, 126 F.3d 1016, 1018 (7th Cir. 1997) (citation omitted); see also United
  States v. Modanlo, 762 F.3d 403, 411 (4th Cir. 2014) (“[A] trial may not be conducted from the time that
  an interlocutory or collateral order appeal is properly taken until the court of appeals returns jurisdiction to
  the district court.”). However, the transfer of jurisdiction is not absolute. The government’s right to appeal
  under Section 3731 is “pinpointed on particular evidentiary rulings, [and] there will be many cases in which
  the taking of the appeal will not require the district court to relinquish jurisdiction.” United States v.
  Centracchio, 236 F.3d 812, 813 (7th Cir. 2001) (internal citation omitted); see also United States v. Brooks,
  145 F.3d 446, 457 (1st Cir. 1998). The district court generally retains jurisdiction to control those aspects
  of a case not involved in the pending appeal. United States v. Tovar-Rico, 61 F.3d 1529, 1536 (11th Cir.
  1995) (holding that an appeal under Section 3731 does not divest a district court of jurisdiction to conduct
  a trial of co-defendants on charges unaffected by the pending appeal).
                                                          1




Case 4:18-cr-00011-MFU-RSB Document 623 Filed 08/21/19 Page 1 of 2 Pageid#: 3008
                                               THOMAS T. CULLEN
                                               United States Attorney

                                               s/Heather L. Carlton
                                               Ronald M. Huber
                                               Heather L. Carlton
                                               Assistant United States Attorneys

                                               Michael J. Newman
                                               Special Assistant United States Attorney
                                               United States Attorney's Office
                                               255 West Main Street, Room 130
                                               Charlottesville, VA 22902
                                               Tel: 434.293.4283
                                               Ron.huber@usdoj.gov
                                               Heather.carlton@usdoj.gov
                                               newmamj@danvilleva.org



                                       CERTIFICATE

         I hereby certify that a true and correct copy of the foregoing has been electronically filed

  with the Clerk by CM/ECF system, which will send notification of such filing to all counsel of

  record, on this 21st day of August, 2019.

                                                      s/Heather L. Carlton




                                                  2




Case 4:18-cr-00011-MFU-RSB Document 623 Filed 08/21/19 Page 2 of 2 Pageid#: 3009
